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               16

               17                               UNITED STATES DISTRICT COURT

               18                            NORTHERN DISTRICT OF CALIFORNIA

               19                                   SAN FRANCISCO DIVISION

               20
                       JOSE ARMANDO ESCOBAR-LOPEZ,                   Case No. 3:20-cv-01781-JD
               21
                                               Plaintiff,            NOTICE OF DISMISSAL WITH
               22                                                    PREJUDICE PURSUANT TO
                                     v.                              RULE 41(a)(1)(A)(i)
               23
                       CITY OF DALY CITY, DALY CITY                  The Honorable James Donato
               24      POLICE DEPARTMENT, and DOES 1-20
                       inclusive,
               25
                                               Defendants.
               26
               27

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                                                                            NOTICE OF DISMISSAL WITH PREJUDICE
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                        CASE NO. 3:20-CV-01781-JD
                          Case 3:20-cv-01781-JD Document 69 Filed 12/14/21 Page 2 of 2


                   1          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

                   2   Plaintiff Jose Armando Escobar-Lopez hereby dismisses the above-captioned action (the

                   3   “Action”) with prejudice. Defendants have not filed an answer or a motion for summary judgment

                   4   in the Action.

                   5

                   6

                   7   DATED: December 14, 2021                   Respectfully submitted,

                   8                                              By:      /s/ Belinda S Lee
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 SAN FRANCISCO                                                          1                      CASE NO. 3:20-CV-01781-JD
